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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                     Exhibit E
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                                                                  Page 225

 1                        UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
 2                              COLUMBIA DIVISION
 3
           THE SOUTH CAROLINA STATE CONFERENCE OF
 4         THE NAACP, et al.,
 5                     Plaintiffs,
 6         vs.                   CASE NO. 3:21-cv-03302-MBS
                                          TJH-RMG
 7
           THOMAS C. ALEXANDER, et al.,
 8
                          Defendant.
 9
10         VTC
           DEPOSITION OF:      WALLACE HERBERT JORDAN, JR.
11                             VOLUME II - Pages 225 through 444
                               (Appearing by VTC)
12
           DATE:               July 21, 2022
13
           TIME:               10:03 a.m.
14
           LOCATION:           Nexsen Pruet Law Firm
15                             1230 Main Street, 7th Floor
16         TAKEN BY:           Counsel for the Plaintiffs
17         REPORTED BY:        Susan M. Valsecchi, CRR
                               Registered Professional Reporter
18                             (Appearing by VTC)
19
20
21
22
23
24
25

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 1                  screen, too, if you want.
 2                          MR. MATHIAS:          No, don't worry about
 3                  that.
 4                          If you will turn to Tab 38.                And it was
 5                  marked as an exhibit?
 6                          MR. CUSICK:          Yeah, Plaintiff's Exhibit
 7                  7.
 8         BY MR. MATHIAS:
 9                  Q.      Plaintiff's Exhibit 7, do you recognize
10         this document?
11                  A.      Yes, you're referring to the guidelines
12         and criteria.
13                  Q.      Yes, and what does it say in the upper
14         right-hand corner?
15                  A.      Adopted 8/3/21.
16                  Q.      Does that mean that the full House
17         passed this?
18                  A.      No, this would have been adopted by
19         only the Ad Hoc Committee.
20                  Q.      And so this is not South Carolina law,
21         is it?
22                  A.      No.
23                  Q.      During the process of redistricting,
24         did you -- or those with whom -- to whom you tasked
25         the authority -- do everything in your ability to

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 1         make sure that the new districts, congressional
 2         districts, complied with the United States
 3         Constitution?
 4                  A.   Ask that one more time.
 5                  Q.   Did you, or someone to whom you tasked
 6         with the analysis, do what you could to make sure
 7         the newly enacted congressional districts complied
 8         with the United States Constitution?
 9                  A.   Yes, that would have been -- you know,
10         obviously it was something I wanted to see happen
11         because I voted for and approved this criteria and
12         that's number one, and as the other things are
13         organized in here.
14                       But anything I couldn't specifically
15         consider myself practically capable of doing, then
16         I would have relied upon members of the staff or
17         counsel to make sure those things are completed.
18                  Q.   Is that also true with respect to
19         federal law, you tried to follow the law?
20                  A.   Yes.
21                  Q.   And you tried to follow state law?
22                  A.   Yes.
23                  Q.   And you tried to make sure the
24         population of the districts complied with the law?
25                  A.   Yes.

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